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                                       Suzanne E. Englebert
                                         7328 Freret Street
                                       New Orleans, LA 70118
                                           504.864.8166
                                           703.321.6746
                                   SueEnglebert@sseeservices.com


OBJECTIVE: General Site Operations and Executive-level Coordination, Homeland Security -
Maritime Safety, Security, Environmental Protection, Emergency Management, and Incident
Command

CAREER HISTORY: Over 27 years of outstanding change-centric leadership as a U.S. Coast Guard
officer, retiring at the rank of Captain. Excelled at developing diverse corporate and government
entities into partnerships that promoted organizational responsibility, garnered region-wide
improvements, and gained unprecedented collaboration across industry and state boundaries. Used
extensive commercial maritime industry technical experience to ensure vessel building standards and
shore-facilities compliant with appropriate requirements and waterways kept safe. Led inter-agency
and international policy development and shared expertise through teaching and facilitation roles.
Created national and world-wide strategic and integrated maritime security programs.

OPERATIONS MANAGEMENT:
• Coordinated nine federal agencies and 18 other parties of interest in over 20 ongoing separate
   investigations to ensure an impartial, thorough investigation of the circumstances surrounding the
   sinking, explosion, pollution, and loss of life aboard the Deepwater Horizon in April 2010. Duties
   included evidence control and facilitating information, support, and access to forensic testing
   conducted under intense public and governmental scrutiny.
• Handpicked to direct operations three times including two designations as Captain of the Port for
   major port areas. In most recent command, directed all Coast Guard operations in a dynamic
   3,500-square-mile maritime community that included an environmentally sensitive marine
   sanctuary and 125-nautical-mile international border. Unit had 510 full-time and 250 part-time
   personnel and a $1.6 million operating budget with $5.5 million in equipment.
• Expertly integrated operations with Canadian and local law enforcement officials to provide
   unprecedented 2010 Winter Olympic security and the highest level of Department of Defense and
   civilian law enforcement security for ten successful out-loads of military equipment under
   conditions of prominent protester activity.
• While directing all Coast Guard operations in 11-state Mid-West area, anticipated flood impact of
   Hurricane Katrina and deployed a 46-member specialized flood response team with gear and
   training to rescue hundreds from roof tops, assist in helicopter rescues, and provide medical
   supplies to area hospitals.
• Throughout Coast Guard career, worked extensively with Coast Guard Auxiliary volunteers to
   improve recreational boating safety and public education programs. In one case, motivated
   volunteers to dramatically increase their patrol activity from 620 to over 3,600 hours for a single
   season and continued outreach to sustain their energetic involvement.

TECHNICAL EXPERTISE IN SAFETY, SHIP INSPECTION, DESIGN, AND SHIPPING:
• Fully qualified Coast Guard Marine Inspector for engineering systems, hull structural standards,
   life-saving and fire-fighting systems, as well as mariner training and qualification standards.
   Thoroughly inspected all commercial shipping venues including foreign and domestic deep-draft
   vessels, tank ships, 120-year old wooden schooners, Russian fish processors, small-passenger
   vessels, cruise ships, and all types of shore facilities.
• Had and exercised senior Coast Guard command authority to prohibit commercial vessels from
   entering ports, restrict vessel and facility operations, revoke mariners’ licenses, conduct accident
   investigations, and work with industry to improve or replace high-risk operations.
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•    Ran waterway traffic systems in Puget Sound, WA and along the Illinois and Upper Mississippi
     River to ensure waterway safety. Routinely deconflicted international border issues and
     responded to river flooding, low water, and lock closure issues.
•    Represented the United States in a 1994 review of unique vessel design proposals from both U.S.
     and foreign counties to ensure safety. Completed engineering analysis and wrote U.S.-proposed
     international requirements for seat attachment standards to the international High-Speed Craft
     Code.
•    In 1989, assigned as sole Coast Guard shipyard representative with oversight of commercial large
     passenger/car ferry construction, plan review to ensure compliance with all U.S. Codes and
     recognized Class standards, and final approval on all structural repairs for Washington State-
     owned ferry in Seattle.

INTER-AGENCY POLICY DEVELOPMENT AND RESPONSE:
• Collaborated with Florida State Commissioner and Emergency Coordinators, as part of a 2008
   dedicated Florida State Department of Homeland Security council, to develop a strategic plan for
   implementing cruise ship and port security requirements.
• When Illinois State gambling statutes changed in 2005, organized a federal and state task force
   that ensured continued safety for waterfront gambling vessels, yet saved industry $10 million
   annually.
• Authored regulations for controversial single-hulled tank vessels operating until their 2015 phase-
   out date mandated by the Oil Pollution Act of 1990. The regulations cost industry $60.5 million to
   implement but were shown to be economically justified well before the international community
   mandated the requirements.
• Successfully coordinated and led the first-ever large-scale pollution response exercise with
   participation from the National Guard, state and local responders, and industry, in a remote and
   extremely environmentally-sensitive area in Maine.
• Spearheaded first-ever regulations on the towing industry through aggressive collaboration with
   the Coast Guard’s Towing Safety Advisory Committee to mandate operational and navigation
   equipment standards aimed at preventing catastrophes.

TRAINING AND FACILITATION:
• In March 2009, selected as lead panel member for DHS University Network Summit in March
   2009 with over 200 university representatives. Presented ideas on universities collaborating with
   law enforcement and funding DHS research using the port security grant program.
• Led U.S. Coast Guard team in support of a joint 2009 U.S./Canadian major oil spill exercise in
   Prince Rupert, British Columbia. The U.S team provided training and coaching for members of the
   Canadian Coast Guard Incident Management Team in responsibilities specific to their NIMS ICS
   Positions. Also directly coached Canadian Regional Director in incident command leadership and
   created a draft Incident Action Plan that will be used to recover ordnance from an actual sunken
   U. S. Army Transport Vessel in the future when Canada receives funding.
• For two years (2007-2009) in Miami, Florida, developed volunteer leadership and oversaw training
   and administration for 5,000+ U.S. Coast Guard Auxiliary volunteer members, including the largest
   Coast Guard volunteer aviation contingent.
• As a 2003 Resident Instructor for the World Maritime University in Malmo, Sweden, taught
   international students the concepts and complexities of port and ship-to-shore cargo security, with
   emphasis on new International Ship and Port Facility (ISPS) Code requirements.
• In preparation for implementation of the Maritime Transportation Security Act of 2002 and
   proposed integration of port, private facility, and vessel security, designed a revolutionary process
   to actively engage public comment. Organized and facilitated a two-day workshop and eight all-
   day public forums across the nation, attended by over 3,000 industry, public, and government
   participants.
• For six months after the terrorist acts of 9/11, oversaw seven Department-level and inter-agency
   command centers in Washington D.C. for Departments of Transportation and Defense and the
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     White House. Responsibility included training the staff to ensure all protocols, briefing materials,
     and emergent issues were effectively addressed.
•    While stationed in Okinawa, Japan, in 1986, established the first community programs in the area
     to build international relations, including a high-school Japanese/English mentor program and
     weekly language and cultural lessons.
•    Published educational articles in several industry trade journals on security, inspection, and crew
     training.

MARITIME SECURITY PROGRAM CREATION:
• Over a record-breaking period of only eight months following the 9/11 terrorism attacks, directly
  negotiated International Ship and Port facility Security (ISPS) requirements in a challenging
  international diplomatic environment involving over 120 countries. The work product developed
  into comprehensive amendments to the Safety of Life at Sea (SOLAS) Convention that were
  adopted in 2002 by the International Maritime Organization, affecting the entire world maritime
  community.
• Developed strategy and policy necessary to enact rulemakings to implement the revised SOLAS
  Code in the U.S. maritime and justify the industry’s initial investment of $7.5 billion to comply.
  Wrote ground-breaking risk management and cost-effectiveness documents that became a model
  for the U.S. Office of Management and Budget (OMB). This body of work enabled the completion
  of six significant rulemakings that required approval by 22 offices in the Departments of
  Transportation and Homeland Security, in only 10 months.
• Chaired six port region committees overseeing safety, security, and transportation issues for the
  Puget Sound region and the Midwest. Membership and participation in these committees
  increased by over 20% and drove completion of comprehensive port-wide security plans with
  training, exercise, and grant development programs to enable actionable, agile, and “all-hazards”
  response posture for the communities. Vetted and championed over $40 million in port security
  grants to strengthen regions.

EDUCATION:
M.S.E., Naval Architecture and Marine Engineering, University of Michigan, Ann Arbor, MI 1993
M.S.E., Mechanical Engineering, University of Michigan, Ann Arbor, MI 1993
B.S., Marine Science U.S. Coast Guard Academy, New London, CT 1984

PROFESSIONAL TRAINING:
USCG Marine Inspection Qualification Program, Seattle, WA
NIMS Incident Command System I-100-400, 700-800, FEMA
Incident Command Planning and Command, I-420, I-621, L-381, USCG

OTHER AWARDS AND EXPERIENCE:
2010 Member, U.S. Coast Guard Commandant’s Agency-Wide Organization Study
2009-2011 Subject of Harvard Kennedy School of Government Case Study
2007 Recipient and Continuing Participant, Inclusive Management Fellow of the Center for Public
Administration and Policy and the School for Public and International Affairs (Virginia Tech &
University of California)
2006 Member, U.S. Coast Guard Commandant’s Transition Team (for incoming Commandant)
2004 Recipient, Department of Homeland Security Secretary’s Award for Excellence
2003 Resident Instructor, World Maritime University
2002-2003 Member, U.S. Delegation to the International Maritime Organization
2001 Member, Commandant’s Quality Award Evaluator Board of Examiners
2001 Member, Coast Guard Health Care Task Force
1999 Recipient, University of Michigan Alumna-in-Residence
1998 Recipient, Federal Environmental Engineer of the Year Honor Award
1996 Recipient, Vice President’s Hammer Award for Excellence in Government Reinvention
1993 Recipient, University of Michigan Alumnae Council Athena Award
